


  This cause came on to be heard upon the petition of the relator for a writ of mandamus and the demurrer of the respondents thereto, and was argued by counsel. On consideration whereof, it is ordered and adjudged by this court, that the demurrer be, and the same hereby is, sustained for the reason that a court of record speaks through its journal and its journal in this cause discloses that the cause is still pending on a rehearing; and for the further reason that a writ of mandamus does not lie where there is an adequate remedy at law to correct an erroneous judgment by proceedings in error.
 


   Writ denied.
  


  Weygandt, C. J., Allen, Stephenson, Jones, Matthias, Bevis and Zimmerman, JJ., concur.
 
